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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 UNITED STATES OF AMERICA,
                                                CASE NO. 05-80955
              Plaintiff,
                                                DISTRICT JUDGE AVERN COHN
 v.

 D-11, BENJAMIN ANTHONY JOHNSON

              Defendant.
                                            /


                 ORDER DENYING DEFENDANT’S PRO-SE MOTIONS


       For the reasons stated on the record at November 14, 2008 sentencing hearing, the

 following pro-se motions filed by the defendant are DENIED:

       •      Motion to Dismiss Indictment /or for Evidentiary Hearing Based on
              Outrageous Conduct by the Government (D/E 816),

       •      Motion to Supplement Motion to Dismiss the Indictment or for Evidentiary
              Hearing (D/E 834),

       •      Motion to Supplement Motion to Dismiss the Indictment or for Evidentiary
              Hearing (D/E 854).


       SO ORDERED.


 Dated: November 21, 2008                  s/Avern Cohn
                                          AVERN COHN
                                          UNITED STATES DISTRICT JUDGE


 I hereby certify that a copy of the foregoing document was mailed to the attorneys of
 record on this date, November 21, 2008, by electronic and/or ordinary mail.

                                           s/Julie Owens
                                          Case Manager, (313) 234-5160
